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                           PAVAN PARIKH
                 HAMILTON COUNTY CLERK OF COURTS


                                COMMON PLEAS DIVISION

                                ELECTRONICALLY FILED
                               June 1, 2022 10:49 AM
                                    PAVAN PARIKH
                                  Clerk of Courts
                               Hamilton County, Ohio
                                CONFIRMATION 1195471


            ZAKEYA STARKS                                                      A 2201970
           vs.
 KELLY YOUTH SERVICES INC



                                    FILING TYPE: FILING
                                          PAGES FILED: 4




                                                      EFR200




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                   U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                                 Cincinnati Area Office
                                                                                            550 Main Street, Suite 10-191
                                                                                                 Cincinnati, Ohio, 45202
                                                                                                         (513) 914-6007
                                                                                                Website: www.eeoc.gov


                                  DISMISSAL AND NOTICE OF RIGHTS
                                  (This Notice replaces EEOC FORMS 161 & 161-A)

                                      Issued On: 03/15/2022
           To: Ms. Zakeya Starks
               3355 Robinet Drive
               Cincinnati, OH 45238

            Charge No: 473-2021-00344

            EEOC Representative and email:           Daniel Williams
                                                     Investigator
                                                     daniel.williams@eeoc.gov


                                               DISMISSAL OF CHARGE

           The EEOC has granted your request that the agency issue a Notice of Right to Sue, where it is
           unlikely that EEOC will be able to complete its investigation within 180 days from the date the
           charge was filed.

           The EEOC is terminating its processing of this charge.

                                      NOTICE OF YOUR RIGHT TO SUE

           This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
           you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
           or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
           Receipt generally occurs on the date that you (or your representative) view this document. You
           should keep a record of the date you received this notice. Your right to sue based on this charge
           will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a lawsuit
           based on a claim under state law may be different.)

           If you file a lawsuit based on this charge, please sign-in to the EEOC Public Portal and upload the
           court complaint to charge 473-2021-00344.




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                   U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                                              Cincinnati Area Office
                                                                                                         550 Main Street, Suite 10-191
                                                                                                              Cincinnati, Ohio, 45202
                                                                                                                      (513) 914-6007
                                                                                                             Website: www.eeoc.gov


                                                         On Behalf of the Commission:
                                                            Digitally Signed By: Michelle Eisele / dfw
                                                            03/15/2022
                                                            Michelle Eisele
                                                            District Director



           Cc:
           Tiffany Kelly
           Administrator
           K.E.L.L.Y. YOUTH SERVICES, INC.
           administrator@kysinc.com

           Brian G Dershaw
           Counsel
           Taft Stettinius & Hollister LLP
           bdershaw@taftlaw.com

           Evan R McFarland
           Attorney at LawTHE SPITZ LAW FIRM, LLC
           Evan.McFarland@spitzlawfirm.com



           Please retain this notice for your records.




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           Enclosure with EEOC Notice of Closure and Rights




                                          INFORMATION RELATED TO FILING SUIT
                                         UNDER THE LAWS ENFORCED BY THE EEOC
            (This information relates to filing suit in Federal or State court under Federal law. If you also
           plan to sue claiming violations of State law, please be aware that time limits may be shorter and
                      other provisions of State law may be different than those described below.)

           IMPORTANT TIME LIMITS – 90 DAYS TO FILE A LAWSUIT
           If you choose to file a lawsuit against the respondent(s) named in the charge of discrimination,
           you must file a complaint in court within 90 days of the date you receive this Notice. Receipt
           generally means the date when you (or your representative) opened this email or mail. You should
           keep a record of the date you received this notice. Once this 90-day period has passed, your
           right to sue based on the charge referred to in this Notice will be lost. If you intend to consult an
           attorney, you should do so promptly. Give your attorney a copy of this Notice, and the record of
           your receiving it (email or envelope).
           Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction.
           Whether you file in Federal or State court is a matter for you to decide after talking to your
           attorney. You must file a "complaint" that contains a short statement of the facts of your case
           which shows that you are entitled to relief. Filing this Notice is not enough. For more information
           about filing a lawsuit, go to https://www.eeoc.gov/employees/lawsuit.cfm.

           ATTORNEY REPRESENTATION
           For information about locating an attorney to represent you, go to:
           https://www.eeoc.gov/employees/lawsuit.cfm.

           In very limited circumstances, a U.S. District Court may appoint an attorney to represent individuals
           who demonstrate that they are financially unable to afford an attorney.

                NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2008 (ADAAA)
           We recommend that you and your attorney (if you retain one) review the resources at
           http://www.eeoc.gov/laws/types/disability_regulations.cfm.
           HOW TO REQUEST YOUR CHARGE FILE AND 90-DAY TIME LIMIT FOR REQUESTS
           There are two ways to request a charge file: 1) a FOIA Request or 2) a Section 83 request. You may
           request your charge file under either or both procedures. EEOC can generally respond to Section 83
           requests more promptly than FOIA requests. Since a lawsuit must be filed within 90 days of this
           notice, please submit your request for the charge file promptly to allow sufficient time for EEOC to
           respond and for your review. Submit a signed written request stating it is a “FOIA Request” or a
           “Section 83 Request” for Charge Number 473-2021-00344 to the District Director at Michelle
           Eisele, 1010 West Ohio St Suite 1900, Indianapolis, IN 46204. You can also make a FOIA request
           online at https://eeoc.arkcase.com/foia/portal/login.

           You may request the charge file up to 90 days after receiving this Notice of Right to Sue. After the
           90 days have passed, you may request the charge file only if you have filed a lawsuit in court and
           provide a copy of the court complaint to EEOC. For more information on submitting FOIA Requests
           and Section 83 Requests, go to: https://www.eeoc.gov/eeoc/foia/index.cfm.




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           Enclosure with EEOC Notice of Closure and Rights



           NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2008 (ADAAA): The
           ADA was amended, effective January 1, 2009, to broaden the definitions of disability to make it
           easier for individuals to be covered under the ADA/ADAAA. A disability is still defined as (1) a
           physical or mental impairment that substantially limits one or more major life activities (actual
           disability); (2) a record of a substantially limiting impairment; or (3) being regarded as having a
           disability. However, these terms are redefined, and it is easier to be covered under the new law.
           If you plan to retain an attorney to assist you with your ADA claim, we recommend that you
           share this information with your attorney and suggest that he or she consult the amended
           regulations and appendix, and other ADA related publications, available at
           http://www.eeoc.gov/laws/types/disability_regulations.cfm.

           “Actual” disability or a “record of” a disability (note: if you are pursuing a failure to
           accommodate claim you must meet the standards for either “actual” or “record of” a
           disability):
                ➢ The limitations from the impairment no longer have to be severe or significant for the
                  impairment to be considered substantially limiting.
                ➢ In addition to activities such as performing manual tasks, walking, seeing, hearing,
                  speaking, breathing, learning, thinking, concentrating, reading, bending, and
                  communicating (more examples at 29 C.F.R. § 1630.2(i)), “major life activities” now
                  include the operation of major bodily functions, such as: functions of the immune
                  system, special sense organs and skin; normal cell growth; and digestive, genitourinary,
                  bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,
                  hemic, lymphatic, musculoskeletal, and reproductive functions; or the operation of an
                  individual organ within a body system.
                ➢ Only one major life activity need be substantially limited.
                ➢ With the exception of ordinary eyeglasses or contact lenses, the beneficial effects of
                  “mitigating measures” (e.g., hearing aid, prosthesis, medication, therapy, behavioral
                  modifications) are not considered in determining if the impairment substantially limits a
                  major life activity.
                ➢ An impairment that is “episodic” (e.g., epilepsy, depression, multiple sclerosis) or “in
                  remission” (e.g., cancer) is a disability if it would be substantially limiting when active.
                ➢ An impairment may be substantially limiting even though it lasts or is expected to last
                  fewer than six months.

           “Regarded as” coverage:
           An individual can meet the definition of disability if an employment action was taken because
           of an actual or perceived impairment (e.g., The employer has a defense against a “regarded as”
           claim only when the impairment at issue is objectively BOTH transitory (lasting or expected to
           last six months or less) AND minor.
               ➢ A person is not able to bring a failure to accommodate claim if the individual is covered
                    only under the “regarded as” definition of “disability.”

            For more information, consult the amended regulations and appendix, as well as explanatory
           publications, available at http://www.eeoc.gov/laws/types/disability_regulations.cfm.




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